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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

In re: STARGELL, KRISTIE JACKSON                        §        Case No. 17-50323-JRS
                                                        §
                                                        §
                                                        §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        Please take further notice that the Court will hold a hearing on the Trustee’s Final Report and
Applications for Compensation in Courtroom 1404, United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta, Georgia, at 10:30 a.m. on October 19, 2021.

       Given the current public health crisis, please check the “Important Information Regarding Court
Operations During COVID-19 Outbreak” tab at the top of the GANB Website prior to the hearing.

        Beginning June 22, 2021, Judge Sacca will hold hearings and permit in-person appearances as
follows. All Chapter 7 and 11 matters on the 10:30 a.m. calendar, including the calendar call, must appear via
Judge Sacca’s Virtual Hearing Room pursuant to the instructions below or in person at the option of the person
appearing. If you plan to present evidence, you should consider appearing in person.

          The Link to connect to Judge Sacca’s “Virtual Hearing Room” is https://www.ganb.uscourts.
gov/content/honorable-james-r-sacca. The link is also available on the Chambers’ webpage under the section
entitled Hearing Information. You should connect via this link each time you have a hearing with Judge Sacca
until further notice from the Court.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response so that it is received by
the Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
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response to the undersigned at the address stated below.

Date Mailed: 09/15/2021                                    By:: /s/ S. Gregory Hays
                                                                             Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060




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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

In re:STARGELL, KRISTIE JACKSON                               §      Case No. 17-50323-JRS
                                                              §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                         25,000.00
                   and approved disbursements of:                                    $                            498.15
                   leaving a balance on hand of1:                                    $                         24,501.85

              Claims of secured creditors will be paid as follows:

  Claim       Claimant             Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  2           W. S. Badcock               1,650.34                   1,650.34                         0.00               0.00
              Corp.
  4           Capital One                      0.00                       0.00                        0.00               0.00
              Auto Finance
  6           OneMain                     3,053.68                   3,053.68                         0.00               0.00
  7           PINNACLE                    2,040.07                   2,040.07                         0.00               0.00
              CREDIT
              UNION

                                                  Total to be paid to secured creditors:          $                      0.00
                                                  Remaining balance:                              $                 24,501.85

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                                Total           Interim          Proposed
                                                                              Requested       Payments to           Payment
                                                                                                    Date
  Trustee, Fees - S. Gregory Hays                                                 3,250.00             0.00         3,250.00
  Trustee, Expenses - S. Gregory Hays                                               95.57              0.00            95.57
  Attorney for Trustee Fees (Other Firm) - Arnall Golden                         12,500.00             0.00       12,500.00
  Gregory LLP


           1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

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  Reason/Applicant                                                         Total            Interim      Proposed
                                                                       Requested        Payments to       Payment
                                                                                              Date
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden                305.57             0.00         305.57
  Gregory LLP

                  Total to be paid for chapter 7 administrative expenses:                  $              16,151.14
                  Remaining balance:                                                       $               8,350.71

             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                   Total             Interim        Proposed
                                                                     Requested         Payments to    Payment
                                                                                       Date

                                                       None

                  Total to be paid for prior chapter administrative expenses:              $                   0.00
                  Remaining balance:                                                       $               8,350.71

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                             Allowed Amount        Interim Payments                 Proposed
  No.                                                    of Claim                 to Date                 Payment

                                                       None

                                               Total to be paid for priority claims:       $                   0.00
                                               Remaining balance:                          $               8,350.71

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $29,147.71 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 28.6 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                             Allowed Amount        Interim Payments                 Proposed
  No.                                                    of Claim                 to Date                 Payment
  1          Republic Finance, LLC                        2,471.88                      0.00                708.19
  3          Discover Bank                                1,146.95                      0.00                328.60




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  Claim       Claimant                                Allowed Amount        Interim Payments            Proposed
  No.                                                        of Claim                 to Date            Payment
  5           Sterling Finance Company                        2,388.00                  0.00               684.15
  8           PINNACLE CREDIT UNION                             852.22                  0.00               244.16
  9           PINNACLE CREDIT UNION                           1,629.04                  0.00               466.71
  10          1st Franklin Financial                            857.44                  0.00               245.65
              Corporation
  11          MERRICK BANK                                      737.09                  0.00               211.17
  12          Fortiva                                         3,485.06                  0.00               998.46
  13          Midland Funding LLC                             1,113.42                  0.00               318.99
  14          Midland Funding LLC                             2,755.63                  0.00               789.48
  15          Midland Funding LLC                             4,039.49                  0.00             1,157.30
  16          Cavalry SPV I, LLC                                979.57                  0.00               280.64
  17          Cavalry SPV I, LLC                              3,363.55                  0.00               963.64
  18          PINNACLE CREDIT UNION                               0.00                  0.00                 0.00
  19          PINNACLE CREDIT UNION                               0.00                  0.00                 0.00
  20          PINNACLE CREDIT UNION                               0.00                  0.00                 0.00
  21          Directv, LLC                                      456.15                  0.00               130.69
  22          TD Bank USA, N.A.                               2,872.22                  0.00               822.88

                        Total to be paid for timely general unsecured claims:              $              8,350.71
                        Remaining balance:                                                 $                  0.00

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                                Allowed Amount        Interim Payments            Proposed
  No.                                                        of Claim                 to Date            Payment

                                                           None

                        Total to be paid for tardily filed general unsecured claims:       $                     0.00
                        Remaining balance:                                                 $                     0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
    after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
    dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
    applicable).
             Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim    Claimant                              Allowed Amount       Interim Payments                Proposed
  No.                                                   of Claim                to Date                Payment

                                                     None

                                           Total to be paid for subordinated claims: $                        0.00
                                           Remaining balance:                        $                        0.00




                                                Prepared By: /s/ S. Gregory Hays
                                                                          Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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